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AO 440 (Rev. 06/12) Summons ina Civil Action
UNITED STATES DISTRICT COURT

for the
Western District of Texas [=]

MARK ANTHONY ORTEGA )
)
)
)
Plaintiff(s) )
Vv. Civil Action No.
ELITE LIVING REALTY, LLC )
SAZ4CA0
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) DFW Elite Living, LLC

c/o Elite Living Realty, LLC
13155 Noel Rd #900
Dallas, TX 75240

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received|
are the United States or a United States agency, or an officer or employee of the United States dg
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a ma

it) — or 60 days if you
scribed in Fed, R, Civ.
tion under Rule 12 of

the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

Mark Anthony Ortega
PO Box 702099,
San Antonio, TX 78270

whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief dem;
You also must file your answer or motion with the court.

CLERK OF COURT Ph

JU 5 S
Date: 2024 Kx faorre

anded in the complaint.

ilip J. Devlin |

VO2b nr

Signature of Clerk:

r Deputy Clerk |

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Civil Action No. S A 2 MN

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ.

This summons for (name of individual and title, ifany)

P. 4 ())

was received by me on (dare)

(7 I personally served the summons on the individual at (place)

on (date)

© I left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

on. (date) , and mailed a copy to the individual’s last known address; or
[1 I served the summons on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)

on (date) ; Or
( I returned the summons unexecuted because 3; or
(I Other (specify):
My fees are $ for travel and $ for services, for a total |of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

